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                UNITED STATES DISTRICT COURT
            NORTHERN DISTRICT OF CALIFORNIA
                            SAN FRANCISCO




IN RE GOOGLE PLAY STORE
                                        Case No. 3:21-md-02981-JD
ANTITRUST LITIGATION

                                        Judge: Hon. James Donato
THIS DOCUMENT RELATES TO:




Epic Games Inc. v. Google LLC et al.,
Case No. 3:20-cv-05671-JD




                              STATEMENT OF

                       STEVEN TADELIS
                               ON BEHALF OF

                       EPIC GAMES, INC.
                               APRIL 11, 2024
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Tadelis Statement                                                                                                                       i
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   I.       GOOGLE’S UNLAWFUL TIE HARMS COMPETITION AND CONSUMERS

1. The jury found that Google “unlawfully tied the use of the Google Play Store to the use of
   Google Play Billing” and “willfully acquired or maintained monopoly power by engaging in
   anticompetitive conduct” in the market for Android in-app billing services for digital goods and
   services transactions (“Android In-App Payment Solutions”).1

2. I testified at trial that if the tie were severed, one would expect to see entry, reduced fees, and
   increased innovation in the market for Android In-App Payment Solutions.2 However, this
   outcome depends on robust competition in the market for Android app distribution, where
   Google’s power to coerce the tie originates.3 An effective remedy for Google’s tie must therefore
   address the tie not only directly but also indirectly, by creating conditions necessary for
   meaningful competition in Android app distribution and preventing Google from playing a game
   of “whack-a-mole” where it uses its power in the market for Android app distribution to achieve
   through other means many of the same ends as the tie does.

3. In his statement, Dr. Bernheim describes remedies that address Google’s unlawful conduct in the
   market for Android app distribution.4 My analysis here complements Dr. Bernheim’s by focusing
   on remedies that directly address the tie. Dr. Bernheim prefaces his analysis with principles that
   any effective remedy must embody: it must prevent Google from continuing to engage in the
   anticompetitive conduct found to have been unlawful, preclude related conduct that could have
   substantially similar anticompetitive effects, and undo the effects of Google’s past
   anticompetitive conduct.5 In addition, it should avoid inhibiting Google’s ability to compete on




   1
        Jury Verdict, In re Google Play Store Antitrust Litigation., No. 21-md-02981-JD (N.D. Cal. December 11,
        2023) (“Jury Verdict”), 3:1-25; 7:3-8. The jury found the geographic market for each of these markets to be
        “worldwide, excluding China.” Jury Verdict, 3:2-15.
   2
        Tadelis Testimony, Tr. 2566:1-8.
   3
        Statement of B. Douglas Bernheim, In re Google Play Store Antitrust Litigation., No. 21-md-02981-JD (N.D.
        Cal., April 11, 2024) (“Bernheim Statement”), Section II.
   4
        Bernheim Statement, Section III.
   5
        Bernheim Statement, Section II.D.


   Tadelis Statement                                                                                                  1
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   the merits by improving its products or pricing, or addressing legitimate security concerns.6
   These principles apply equally to remedies for the tie.

4. At trial, I focused my testimony on how Google imposes a coercive tie through the Developer
   Distribution Agreement (“DDA”) and the associated Google Play Payments Policy: Google
   forces Android app developers (“Developers”) who wish to distribute their apps through the
   Google Play Store to use Google Play Billing for all in-app purchases of digital goods.7 The
   nature of a coercive tie is that people who are subject to it would rather not have the tie and
   would rather not have to purchase the tied product from the seller of the tying product.8 The
   source of Google’s power to coerce the tie is its market power in the market for Android app
   distribution.9

5. As I explained in my trial testimony, Google’s tie harms competition and consumers in the
   market for Android In-App Payment Solutions.10 The tie prevents other providers of payment




   6
        Bernheim Statement, Section II.
   7
        Tadelis Testimony, Tr. 2526:17-25, 2531:6-15; Exhibit 10883 (example of a developer distribution agreement);
        Exhibit 8022-039 (Google Play Payments Policy); Simon Testimony, Tr. 291:10-16 (Google permits app
        developer Down Dog to use only Google Play Billing for its app distributed through Google Play).
   8
        Tadelis Testimony, Tr. 2530:4-9; 2531:16-2533:20; 2565:22-25 (discussing evidence, including Exhibit 1391,
        that developers, when given the choice, have used alternatives to Google Play Billing); Simon Testimony, Tr.
        303:2-10 (Down Dog would use Stripe or PayPal if permitted).
   9
        Tadelis Testimony, Tr. 2528:17-2529:4. Dr. Bernheim testified to the existence and sources of Google’s
        monopoly power in the market for Android app distribution. Bernheim Testimony, Tr. 2412:4-2413:19,
        2447:14-2452:3. See also, Bernheim Statement, Section II.
   10
        Tadelis Testimony, Tr. 2533:21-2534:1. See also, Expert Report of Steven Tadelis on Behalf of Epic Games,
        Inc., October 3, 2022 (“Tadelis Opening Report”), Section VIII.A.


   Tadelis Statement                                                                                               2
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   solutions from competing in this market.11 Fees in the market are higher than they would be
   without the tie.12 And with the tie, Google lacks the incentive to offer needed innovations.13

6. As I also testified at trial, Google’s tie reinforces Google’s Android app distribution monopoly,
   by preventing a process Google has internally referred to as the threat of “laddering up”.14 The
   laddering up threat identified by Google is that if large Alternative In-App Payment Solutions
   providers such as Stripe or PayPal could replace Google Play Billing for many thousands of
   Developers, they could “ladder up” the scope of services they offer Developers by offering these
   Developers distribution services, thereby threatening the dominance of the Google Play Store in
   the distribution space.15

7. Finally, Google’s tie is reinforced by the Google Play Payments Policy’s anti-steering provision:
   “apps may not lead users to a payment method other than Google Play’s billing system”—for
   example, to a developer’s web-based store, where the developer is free to use another billing
   solution.16 The anti-steering provision makes it more difficult for Developers to effectively use
   web purchases, where Developers offer other payment methods, as alternatives to in-app
   purchases using Google Play Billing.17 As I discussed at trial, web-based purchases using




   11
        Tadelis Testimony, Tr. 2534:5-9. Google identified Square, Stripe, PayPal, and others as entrants into the
        market if the tie were removed. Between 2011 and 2020, some developers used these other providers or created
        their own solutions. Tadelis Testimony, Tr. 2535:1-11; Exhibit 388-098. If permitted, Paddle would offer a
        competing solution; its services are largely comparable to Google Play Billing’s and are substantially cheaper.
        Owens Testimony, 666:1-667:8.
   12
        Google’s fee is higher than other providers’ fees at their posted prices. Tadelis Testimony, Tr. 2535:15-2540:10;
        Tadelis Opening Report, Table 2; Owens Testimony, Tr. 675:4-8. Google estimated that it could charge only
        10% without the tie. Tadelis Testimony, Tr. 2541:10-2542:4; Exhibit 360-024. During the period when some
        developers were exempted from using Google Play Billing, Google offered fees below its normal rates to the
        developers who took advantage of the exemption. Tadelis Testimony, Tr. 2540:23-2541:9. If Google’s fees to
        developers went down, microeconomic analysis shows that some of that savings would be passed on to
        consumers. Tadelis Testimony, Tr. 2543:12-2544:22.
   13
        Tadelis Testimony, Tr. 2534:14-17. Google Play Billing lacks features that developers have demanded or would
        value. Tadelis Testimony, Tr. 2544:25-2547:15; Tadelis Opening Report, ¶ 211. YouTube’s former CEO wrote
        that using Google Play Billing instead of its own solution was “damaging for [YouTube’s] business” and would
        “hurt [YouTube] competitively.” Exhibit 1391-001.
   14
        Tadelis Testimony, Tr. 2547:16-2552:8; Exhibit 388-098.
   15
        Id.
   16
        Exhibit 8022-039; Tadelis Testimony, Tr. 2557:19-2558:18.
   17
        Tadelis Testimony, Tr. 2554:2-2558:18.


   Tadelis Statement                                                                                                   3
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    alternative payment methods are not viable substitutes to in-app purchases that use Google Play
    Billing because of the user frictions that they involve.18

 8. I have analyzed whether the settlement between plaintiff States and the consumer class and
    Google (“States’ Settlement”)19 is an effective remedy for the anticompetitive harms identified at
    trial. Dr. Bernheim has explained ways in which the States’ Settlement falls short of an effective
    remedy relating to Android app distribution.20 The States’ Settlement also fails to address the tie
    effectively because it does not sever the tie, in the sense that it does not allow apps distributed
    via the Google Play Store to forego Google Play Billing for in-app purchases. Instead, under the
    States’ Settlement, such apps can only offer an alternative billing system alongside Google Play
    Billing, through Google’s existing User Choice Billing program.21

 9. Google’s User Choice Billing program does not restore competition to the Android In-App
    Payment Solutions market,22 for several reasons. First, as noted above, it does not sever the tie;
    Developers must still integrate Google Play Billing.23 Since Developers—not users of Android
    mobile devices (“Users”)—are the customers in the market for Android In-App Payment
    Solutions,24 and since User Choice Billing does not allow Developers to freely choose their
    payment solution, it cannot be a valid remedy for the tie.

10. Second, even the limited choice that Google supposedly offers to Developers under User Choice
    Billing is not a real choice in an economic sense.25 Examination of the structure of User Choice
    Billing reveals a template for how Google could exploit its control of multiple markets to retain




    18
         Tadelis Testimony, Tr. 2554:2-9.
    19
         Settlement Agreement and Release, In re: Google Play Store Antitrust Litigation, No. 3:21-md-02981-JD (ND
         Cal, December 18, 2023) (“States’ Settlement”).
    20
         Bernheim Statement, Section II.E.
    21
         States’ Settlement, Section 6.3. User Choice Billing allows some developers (excluding game developers) to
         offer users the choice of another billing system alongside, but not instead of, Google Play Billing. Loew
         Testimony, Tr. 3162:9-23. Google first offered User Choice Billing in 2022, after this litigation began.
         Kochikar Testimony, Tr. 718:13-18. By May 2023, only 75 or 80 of the millions of Android developers had
         signed up for User Choice Billing. Kochikar Testimony, Tr. 720:4-11.
    22
         Tadelis Testimony, Tr. 2561:5-11.
    23
         Tadelis Testimony, Tr. 2561:22-2562:2.
    24
         Tadelis Testimony, Tr. 2527:17-22.
    25
         Tadelis Testimony, Tr. 2563:12-14.


    Tadelis Statement                                                                                                 4
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the tie. The design of User Choice Billing incentivized Developers to stick with Google Play
Billing as the exclusive payment solution for in-app purchases despite the apparent choice.26
Namely, Google designed the User Choice Billing pricing structure such that it would deter
people from actually going into the program.27 As I explained at trial, with reference to Figure 1
below, Google set the 4% “billing optionality discount” for User Choice Billing (vertical red
dashed line) well below the level that, according to Google’s estimates, would give Developers
the financial incentive to de-integrate Google Play Billing (green shaded region).28




26
     Kochikar Testimony, Tr. 724:2-11. Under User Choice Billing, Google charges its typical service fee minus 4%
     on transactions processed through the developer’s alternative system. Google documents and testimony
     established that the weighted average cost of transaction processing is between 4% and 6%. See Exhibit 360-
     024; Kochikar Testimony, Tr. 726:8-22. Developers therefore pay the same or higher effective service fee with
     or without User Choice Billing. Kochikar Testimony, Tr. 728:9-22.
27
     Tadelis Testimony, Tr. 2563:15-2565:21, Exhibit 388-046. See also, Tadelis Testimony, Tr. 2562:3-2563:14
     (the User Choice Billing fees were designed in a way that it would not be profitable to adopt User Choice
     Billing). Google initially considered “pric[ing] the service fee for developers not using Google Play Billing at
     5% less than those using Google Play Billing, essentially replacement value.” Kochikar Testimony, Tr. 724:12-
     17, Exhibit 2698-046 (estimating Google’s global payment processing cost at 5.6%). In 2019, Google estimated
     its break-even fee for Google Play Billing to be 6%. Tadelis Testimony, Tr. 2541:10-21; Exhibit 360-024. The
     current pricing structure for User Choice Billing (a 4% reduction for developers not using Google Play Billing)
     would require developers to obtain Android In-App Payment Solutions at a price below these estimates of
     Google’s cost in order to pay lower overall processing fees for in-app transactions than they would by using
     Google Play Billing exclusively.
28
     Tadelis Testimony, Tr. 2563:12-2565:21. As I explained at trial, the Google document depicted in Figure 1
     shows that Google estimated that some Developers, for whom in-app billing was a core strategic asset, would
     de-integrate Google Play Billing no matter the size of the “billing optionality discount”. Id.


Tadelis Statement                                                                                                  5
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              FIGURE 1: GOOGLE ANALYSIS OF USER CHOICE BILLING (ANNOTATED)




                   Source: Tadelis Trial Demonstrative, slide 28 (from Exhibit 388-046).


11. Even if the tie were severed, without additional remedies to promote competition in Android app
    distribution, Google would still be able to frustrate Developers’ ability to select Alternative In-
    App Payment Solutions for in-app purchases. Dr. Bernheim explained at trial and explains in his
    statement that network externalities protect Google’s market dominance in app distribution.29 If
    Google were to retain its market power in Android app distribution, it could still design fees like
    in User Choice Billing that would constitute an economic tie.30 Accordingly, for the remedies
    related to the Android In-App Payment Solutions market to be effective, the remedies related to




    29
         Bernheim Testimony, Tr. 2401:3–7 (“In the context of Google Play, you’ve got users going to—smartphone
         users going to Google Play because the apps are there, and you’ve got developers putting their apps on Google
         Play because users are going there, and it’s all kind of reinforcing.”); Bernheim Statement, Section II.D. See
         also, Bernheim Report, ¶¶ 247–48; Bernheim Reply Report, ¶¶ 319–21. At trial, I also explained that it is very
         difficult to penetrate an incumbent market where such network externalities are present. Tadelis Testimony, Tr.
         2547:16-2548:21.
    30
         Tadelis Testimony, Tr. 2566:9-17; Reply Expert Report of Steven Tadelis on Behalf of Epic Games, Inc.,
         December 23, 2022 (“Tadelis Reply Report”), ¶ 129.


    Tadelis Statement                                                                                                  6
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    promotion of competition in Android app distribution discussed by Dr. Bernheim in his
    statement are necessary.31


    II.       THE PROPOSED INJUNCTION IS NECESSARY TO RESTORE
              COMPETITION TO THE MARKET FOR ANDROID IN-APP PAYMENT
              SOLUTIONS

12. In this section, I explain the elements that are necessary to sever Google’s coercive tie, which are
    found in Section III of Epic’s proposed injunction (“Proposed Injunction”). For convenience, I
    reproduce each set of paragraphs in bold before commenting on why they are appropriate.


              A.     NO ANTI-STEERING

    III.A. Free Flow of Information Regarding Out-Of-App Purchasing Options:
           1. Google shall not in any way limit, control, or restrict the ways an app can inform
              Users about out-of-app purchasing options.
           2. Google shall not restrict, prohibit, impede, disincentivize or deter Developers
              from informing Users about out-of-app purchasing options or from offering
              different prices for in-app purchases using GPB and using out-of-app payment
              options.
           3. Google shall not require Developers to use Google APIs (such as Google’s “User
              Choice Billing” APIs) in order to invoke out-of-app purchasing options.
           4. Google shall not impose any Coercive Fees on transactions between a Developer
              and User made through out-of-payment options to which a User was “steered”
              by a link within an app.
                  i. The term “Coercive Fees” means fees that are higher than: Google’s fees
                      for a similar transaction utilizing GPB minus Google’s average per-
                      transaction total cost for handling in-app transactions in the preceding
                      calendar year.
                  ii. Google shall disclose its calculation of the average per-transaction total
                      costs for handling in-app transactions in any given year to the
                      Compliance Committee provided for in Section IV, and shall make that
                      total cost public no later than its release of its audited financials for the
                      corresponding calendar year. For the avoidance of doubt, Google will not
                      be required to calculate or disclose publicly its average per-transaction



    31
          Bernheim Statement, Section III.


    Tadelis Statement                                                                                 7
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                        total cost for handling in-app transactions should it decide not to impose
                        any fees on transactions between a Developer and User made through
                        linked out-of-app payment options (as provided for in this Section) and
                        not to impose any fees on in-app transactions using Alternative In-App
                        Payment Solutions (as provided for in Section III.B) in a given year.

13. Section III.A of the Proposed Injunction prohibits Google from creating barriers to Developers’
    ability to offer Users the option to complete their would-be in-app transactions outside the app,
    using payment solutions other than Google Play Billing.

14. As discussed above, the DDA’s anti-steering provision makes it more difficult for Developers to
    effectively offer out-of-app purchases that use non-Google payment methods as alternatives to
    in-app purchases that use Google Play Billing. Google could continue to dissuade Developers
    from using those alternatives if it were allowed to limit how Developers can communicate with
    Users about them; Sections III.A.1-2 address these concerns by prohibiting any limitations on the
    form of communication or its content.

15. Similarly, Google could limit competition from out-of-app purchasing options if it were allowed
    to restrict how Developers may invoke those alternatives—e.g., if Google could degrade the user
    experience of using an out-of-app purchase option. Section III.A.3 of the Proposed Injunction
    would prohibit such actions by Google.

16. Finally, Section III.A.4 is intended to ensure that Google cannot use its distribution market
    power to “tax” transactions between a Developer and User made outside of the app at a level that
    would prevent equally-efficient or more-efficient out-of-app payment options from competing
    with Google on the merits. Public disclosure of Google’s average per-transaction total costs for
    handling in-app transactions is necessary so that developers and competitors know whether
    Google is offering them fees that comply with the Injunction, and only by having access to
    this information can they monitor Google’s compliance.

17. The provisions of Section III.A would encourage the development of web-based payment
    solutions that can be used for out-of-app purchases. As discussed above, such solutions are
    currently poor substitutes for Android In-App Payment Solutions in part because of Google’s




    Tadelis Statement                                                                                   8
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    restrictions. As I testified at trial, without those restrictions, Developers could significantly
    streamline the process of linking an app to a web-based out-of-app purchase option.32

18. The provisions of Section III.A do not restrict Google from competing on the merits in the
    market for Android In-App Payment Solutions. These provisions impose no requirements on
    Google regarding what features it may offer in Google Play Billing, how it may communicate
    with Users and Developers about Google Play Billing’s relative merits, or how it may price its
    own services (other than to forbid price structures that prevent equally-efficient or more-efficient
    out-of-app payment options from competing with Google on the merits). Moreover, these
    provisions do not require Google to do anything new; instead they require it not to do certain
    things. Therefore, compliance imposes no obvious material costs on Google.


             B.     NO TYING OF DISTRIBUTION TO PAYMENTS

    III.B. No Tying of Distribution to Payments (Contractual, Economic or Technical):
           Google shall not enforce any existing agreement, enter into any new agreement or
           otherwise engage in any conduct that requires the implementation of GPB in any
           Android app, including, but not limited to, enforcing Sections 1 and/or 2 of its
           Google Play Payments Policy.
           1. Google shall not enforce or enter into contractual provisions, guidelines or
              policies, or impose technical restrictions or financial terms, that (a) restrict,
              prohibit, impede, disincentivize or deter Developers from integrating any
              Alternative In-App Payment Solution, whether alongside GPB or in lieu of GPB;
              or (b) restrict, prohibit, impede, disincentivize or deter Developers from offering
              different prices for in-app purchases using GPB and any Alternative In-App
              Payment Solution and/or making that price difference visible to Users.
           2. Google shall not require Developers to use Google APIs (such as Google’s “User
              Choice Billing” APIs) in order to invoke Alternative In-App Payment Solutions.
           3. Google shall not impose any Coercive Fees on transactions made through
              Alternative In-App Payment Solutions.

19. Section III.B of the Proposed Injunction would prohibit Google from coercing Developers into
    using Google Play Billing by imposing barriers on the use of Alternative In-App Payment
    Solutions. This section prevents Google from requiring the use of Google Play Billing in any



    32
         Tadelis Testimony, Tr. 2557:4-18.


    Tadelis Statement                                                                                   9
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    Android app, regardless of the means that Google might use to impose such a requirement:
    contractual, economic, or technical. As I testified at trial, severing the tie will encourage entry,
    reduced fees, and increased innovation in the market for Android In-App Payment Solutions.33

20. Specifically, Section III.B.1 prohibits Google from imposing barriers to Developers’ use of
    Alternative In-App Payment Solutions alongside or instead of the Google Play Store, whether
    through contract, guidelines or policies, technical restrictions or financial terms. For example, if
    Google were to require that digital goods sold through an Alternative In-App Payment Solution
    must be offered at the same price as goods sold through Google Play Billing—or if Users were
    not informed of the relative prices until after choosing a payment solution—that would inhibit
    the competitiveness of Alternative In-App Payment Solutions. Section III.B.1(b) prevents such
    strategies.

21. Section III.B.2 prohibits Google from requiring the use of Google APIs to implement Alternative
    In-App Payment Solutions, so as to avoid a situation where Google can degrade the user
    experience of invoking an Alternative In-App Payment Solution.

22. Section III.B.3 is intended to ensure that Google cannot use its distribution market power to
    “tax” in-app purchases using Alternative In-App Payment Solutions at a level that would prevent
    equally-efficient or more-efficient Alternative In-App Payment Solutions from competing with
    Google on the merits (as Google currently does under User Choice Billing).

23. As discussed above, offering User Choice Billing as Developers’ only alternative to using
    Google Play Billing exclusively (as the States’ Settlement allows) is an insufficient remedy to
    address the coercive tie. User Choice Billing requires that Google Play Billing be offered
    alongside any alternative payment mechanism.34 In contrast, the Proposed Injunction would
    sever the tie by preventing Google from deterring Developers from integrating their chosen in-
    app payment solution in lieu of GPB.35




    33
         Tadelis Testimony, Tr. 2566:1-8.
    34
         Loew Testimony, Tr. 3162:9-23.
    35
         Proposed Injunction, III.B.1. See also Tadelis Testimony, Tr. 2561:5-2566:17.


    Tadelis Statement                                                                                      10
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24. The provisions of Section III.B do not restrict Google from competing on the merits in the
    market for Android In-App Payment Solutions. These provisions impose no requirements on
    Google regarding what features it may offer in Google Play Billing, how it may communicate
    with Users and Developers about Google Play Billing’s relative merits, or how it may price any
    of its own services (other than to forbid price structures that prevent equally-efficient or more-
    efficient Alternative In-App Payment Solutions from competing with Google on the merits).
    Moreover, like the provisions of Section III.A, these provisions specify only what Google may
    not do and therefore impose no obvious material costs on Google.


            C.     NO DISCRIMINATION ON THE BASIS OF PAYMENT SOLUTION
                   CHOICE

    III.C. No Discrimination on the Basis of Payment Solution:
           1. Google shall not reject for distribution, or otherwise disadvantage, any Android
              app submitted for distribution through the Google Play Store on the basis of the
              app’s actual or intended integration of one or more Alternative In-App Payment
              Solutions, whether alongside GPB or in lieu of GPB.
           2. Google shall not retaliate or threaten to retaliate against any Developer on the
              basis of such Developer’s actual or intended integration of one or more
              Alternative In-App Payment Solutions into its app(s), whether alongside GPB or
              to the exclusion of GPB.
           3. Google shall not enforce any existing agreement, enter into any new agreement
              or otherwise engage in any conduct that imposes financial terms, technical
              limitations or otherwise restricts, prohibits or impedes access to the Android
              platform, any Android functionality and/or features or APIs, to any Android
              app (including any Third-Party App Stores) or Developer based on whether or
              not GPB is used by that app or that Developer as a payment solution exclusively
              or alongside Alternative In-App Payment Solutions.
           4. Google shall not enforce any existing agreement, enter into any new agreement
              or otherwise engage in any conduct that conditions or impedes access to,
              restricts the use of, or conditions the terms of access to any of Google’s products
              or services based on whether or not an Android app or a Developer chooses to
              use GPB as a payment solution exclusively or alongside Alternative In-App
              Payment Solutions.




    Tadelis Statement                                                                                    11
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25. Section III.C of the Proposed Injunction would prohibit Google from making Developers’ terms
    of access to Google Play Store app distribution, the Android platform and Android functionality
    conditional on their use of Google Play Billing.

26. Section III.C.1 prohibits Google from conditioning in any way a Developer’s equal access to the
    distribution services offered by the Google Play Store on the basis of that Developer’s choice of
    payment solution for handling in-app sales of digital goods. In other words, under the Proposed
    Injunction, Google’s distribution services must be payment-solution-agnostic.

27. Section III.C.2 prohibits Google from retaliating or threatening to retaliate against a Developer
    for use of an Alternative In-App Payment Solution, such as by removing or threatening to
    remove a Developer’s apps from the Google Play Store. In other words, under the Proposed
    Injunction, Google cannot punish Developers for electing to use Alternative In-App Payment
    Solutions.

28. Dr. Bernheim has explained the importance to Developers of access to APIs generally, and to
    Google’s proprietary Android APIs specifically.36 Even if Google is prohibited from tying
    Google Play Billing to the Google Play Store, it could still coerce the use of Google Play Billing
    by withholding key Android functionality from Developers who do not use Google Play Billing
    exclusively. Section III.C.3 of the Proposed Injunction addresses that possibility. It will allow
    Developers to select an Alternative In-App Payment Solution without sacrificing app
    capabilities. This, in turn, will allow competitors to Google Play Billing to access the market on
    a more equal footing than they could in the absence of Section III.C’s provisions.

29. Dr. Bernheim has also explained the importance to Developers of access to Google’s broad suite
    of apps and services, such as Google Search and Google Ads.37 Section III.C.4 prevents Google
    from restricting access or degrading these services if a Developer chooses to use an Alternative
    In-App Payment Solution. By allowing Developers to select an Alternative In-App Payment
    Solution without sacrificing these products and services, Section III.C.4 will allow competitors
    to Google Play Billing to access the market on a more equal footing.



    36
         Bernheim Statement, Section III.C; Bernheim Report, ¶¶ 33-47.
    37
         Bernheim Statement, Section III.C.


    Tadelis Statement                                                                                   12
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30. The provisions of Section III.C do not restrict Google from competing on the merits in the
    market for Android In-App Payment Solutions. These provisions impose no requirements on
    Google regarding what features it may offer in Google Play Billing, how it may communicate
    with Users and Developers about Google Play Billing’s relative merits, or how it may price any
    of its own services (other than to forbid discriminatory treatment of Developers based on their
    choice of in-app payment solution). Moreover, like the other provisions of Section III that I have
    already discussed, these provisions specify only what Google may not do and therefore impose
    no obvious material costs on Google.


             D.     GOOGLE IS ALLOWED TO COMPETE ON THE MERITS

    Notwithstanding the preceding prohibitions, nothing in this Section III shall prohibit
    Google from engaging in bona fide competition on the merits with respect to in-app
    payment solutions for Android apps, such as:

             1. Making price or quality improvements to GPB to differentiate it from
                Alternative In-App Payment Solutions.

             2. Communicating to OEMs, Carriers, Developers and Users regarding any
                purported quality or price advantages of GPB over Alternative In-App Payment
                Solutions, or otherwise publicly promoting GPB.

31. As I testified at trial, Google’s tie prevents other providers from fairly competing in the market
    for Android In-App Payment Solutions; without healthy competition, fees are higher than they
    would otherwise be, and Google lacks an incentive to offer needed innovations.38 The conclusion
    to Section III of the Proposed Injunction reinforces that Epic asks the Court to establish the
    conditions for healthy competition in this market. Healthy competition implies—contrary to the
    present reality in this market—that all providers, including Google, are free to offer innovative
    products at attractive prices. The provisions quoted immediately above emphasize that Section
    III of the Proposed Injunction in no way limits Google’s ability to compete fairly in the market
    for Android In-App Payment Solutions.




    38
         Tadelis Testimony, Tr. 2534:2-18.


    Tadelis Statement                                                                                    13
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Respectfully submitted,




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Steven Tadelis, Ph.D.
April 11, 2024




Tadelis Statement                                                          14
